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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

Ghassan Alasaad, Nadia Alasaad, Suhaib
Allababidi, Sidd Bikkannavar, Jérémie
Dupin, Aaron Gach, Ismail Abdel-Rasoul aka
Isma’il Kushkush, Diane Maye Zorri, Zainab
Merchant, Mohammed Akram Shibly, and               Civil Action No. 17-cv-11730-DJC
Matthew Wright,
                                                   Hon. Denise J. Casper
             Plaintiffs,

       v.

Chad F. Wolf, Acting Secretary of the U.S.
Department of Homeland Security, in his
official capacity; Mark A. Morgan, Acting
Commissioner of U.S. Customs and Border
Protection, in his official capacity; and
Matthew T. Albence, Deputy Director and
Senior Official Performing the Duties of the
Director, U.S. Immigration and Customs
Enforcement, in his official capacity,

             Defendants.



                                 NOTICE OF APPEAL

       Pursuant to Fed. R. Civ. P. 3(c) and Fed. R. Civ. P. 4(a), notice is hereby given

that all Plaintiffs in the above-captioned case hereby appeal to the United States Court of

Appeals for the First Circuit from the Memorandum and Order entered on November 12,

2019, ECF No. 109, denying in part and granting in part Plaintiffs’ motion for summary

judgment, and from the Judgment entered on November 21, 2019, ECF No. 112, granting

relief to Plaintiffs to the extent explained in the Court’s November 12, 2019

Memorandum and Order.




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       All Plaintiffs file this Notice of Appeal following the Notice of Appeal filed by all

Defendants on January 10, 2020, ECF No. 115.

DATED: January 13, 2020

Respectfully submitted:

Adam Schwartz *               /s/Nathan Freed Wessler         Jessie J. Rossman
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Saira Hussain*                Hugh Handeyside*                Matthew R. Segal
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                                                              *Admitted pro hac vice
                                                              Counsel for Plaintiffs




                            CERTIFICATE OF SERVICE

       I certify that on January 13, 2020, a copy of the foregoing was filed electronically

via the Court’s ECF system, which effects service upon counsel of record.


                                                     /s/ Nathan Freed Wessler
                                                     Nathan Freed Wessler




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